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 May 1, 2024
 Via ECF/Pacer
 The Honorable Vera M. Scanlon
 United States Magistrate Judge

        RE:     Galisia v. Da Pai Dong, Inc., et. al 1:22-CV-6520-LDH-VMS

                                           Status Report

 Dear Judge Scanlon:

         Pursuant to this Court’s order dated January 30, 2024, following is a status regarding
 discovery in this case. On February 16, 2024, Plaintiff served Rule 26 disclosures and written
 discovery requests on Defendants Jianqi Chen and Da Pai Dong, Inc. (“Defendants”). To date,
 Defendants have not responded to discovery. Counsel for Plaintiff has conferred with counsel
 for Defendants on multiple occasions regarding the outstanding discovery. Plaintiff’s counsel
 has agreed to multiple extensions; however, on April 16, 2024, Defendants’ counsel advised
 Plaintiff’s counsel that Defendants have not been cooperative, and that he may be moving to
 withdraw as counsel. Plaintiff’s counsel agreed to grant Defendants until May 6, 2024 to either
 respond to discovery, or move to withdraw as counsel. If there is no response to discovery by
 said date, Plaintiff anticipates that a motion to compel will be necessary, and perhaps a motion to
 extend discovery.

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